              Case 2:09-cr-00445-DSF Document 3214 Filed 10/01/21 Page 1 of 2 Page ID #:24261

                                                          RICT COURT
                                       UNITED STATES DIST
                                                           CALIFORI~TIA
                                      CENTRAL DISTRICT OF

                                                                -G      ENERAL
                                               CRIMINAL MINUTES
                                                                         ~          ,Date _ l~ l ~ ~~Z-
                            Z,~►~~ —C'~— ~~ ._
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 ~~:ase ~10
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   ~Tit~e                   United States v. '~ ~~~`~
          `            i~




                                                Standish
    Present: 'I`he I~onorable,f~ Gail J.
                                                                                      n/a
                      Earlene Carson
                                                                            Court Reporter /Recorder
                       Deputy Clerk
                                                   :                      Attorneys Present for Defendant:
                  Attorneys Present for Government
                                                                                        Ilia
                                     n/a
                                                            DETENTION —SUPERVIS                     ED
    Proceedings:                     (IN CHAMBERS) ORDER OF
                                     RELEASE ALLEGATION

                                   a det ent ion  hea ring pur sua nt to Fed eral Rule of Criminal Procedure
            The Court conducted                                         arrest for alleged violations) of the
                            .C. § 314 3(a ) foli o  'ng De  fen dan t's
      32.1(a)(6) and 18 U.S
                                                     ervised release.
      terms of Defendant's Dprobation / sup
                      The Court      ds that
                                                                                of establishing by clear and
                A.            Defendant has not carried his/her burden
                            ce tha t De fen dan t wil l app ear for furt her proceedings as required if released
          convincing e  ide
                                                           ed on:
          [18 U.S.C. § 3142(b-c)]. This finding is bas
                        ❑      Lack of bail resources

                                ❑     Refusal to interview with Pretrial Services
                                      No stable residence or employment
                                                                                     bation, parole, or release
                                      Previous failure to appear or violations of pro

                                ❑     Ties to foreign countries
                                      Allegations in petition




                                                                                                                  Page 1 of2
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                            UNITED STATES DISTRICT COURT
                                                      RNIA
                           CENTRAL DISTRICT OF CALIFO

                                 CRIMINAL MINUTES -GENERAL
                                                          :Date
Case No.
Title      '' United States v.

                                                                    lishing by clear and
      B.          Defendant has not carried his/her burden of estab
                                                    the safety of any other person or the
convincing e id ce that Defendant will not endanger
                                                   finding is based on:
community ifreleased [18 U.S.C. § 3142(b-c)]. This
                  Nature of previous criminal convictions
                        Allegations in petition
                        Substance abuse
                ❑       Already in custody on state or federal offense



                                                       * ~*
      IT IS THEREFORE ORDERED that the defendant be detained pending further
proceedings.




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